     Case: 1:16-cv-10287 Document #: 11 Filed: 03/07/17 Page 1 of 2 PageID #:35



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
IN RE: TESTOSTERONE
REPLACEMENT THERAPY                                      Case No. 1:14-cv-01748
PRODUCTS LIABILITY                                       MDL No. 2545
LITIGATION                                               Honorable Matthew F. Kennelly

THIS DOCUMENT RELATES TO:
Bryan G. Stuebner v. AbbVie, Inc., et al.

Civil Action No. 1:16-cv-10287



                           STIPULATION OF DISMISSAL OF
                 ELI LILLY DEFENDANTS ONLY WITHOUT PREJUDICE


        IT IS HEREBY STIPULATED AND AGREED by and between counsel for Plaintiff

Bryan G. Stuebner, and counsel for Defendants ELI LILLY AND COMPANY, LILLY USA, LLC,

ACRUX COMMERCIAL PTY LTD. and ACRUX DDS PTY LTD. pursuant to Rule

41(a)(I)(A)(ii) of the Federal Rules of Civil Procedure, that any and all claims and

counterclaims which were or could have been asserted by and between these parties, against one

another, are hereby dismissed without prejudice and without costs or attorneys' fees to any party.

Plaintiff’s claims against the other defendants remain pending, and in full force and effect.

/s/ David DeGreeff                                    /s/ David E. Stanley
David C. DeGreeff                                     David E. Stanley
Wagstaff & Cartmell, LLP                              REED SMITH LLP
4740 Grand Ave, Suite 300                             355 S. Grand Avenue, Suite 2900
Kansas City, MO 64112                                 Los Angeles, CA 90071
Attorney for Plaintiff                                Attorneys for Defendants Eli Lilly and Company,
                                                      Lilly USA, LLC, Acrux Commercial Pty Ltd. and
                                                      Acrux DDS Pty Ltd.




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     Case: 1:16-cv-10287 Document #: 11 Filed: 03/07/17 Page 2 of 2 PageID #:36



                                  CERTIFICATE OF SERVICE

        I, David E. Stanley, hereby certify that on March 7, 2017, the foregoing document was

filed via the Court’s CM/ECF system, which will automatically serve and send email notification

of such filing to all registered attorneys of record.

                                                        /s/ David E. Stanley




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